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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION

 United States of America,

        Plaintiff,

 v.                                                                No. 04-20223 B

 Marilyn Prince Watts,

       Defendant.
 _____________________________________________________________________________

    ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
 ____________________________________________________________________________

        On February 16, 2007, the Defendant, Marilyn Prince Watts, filed a motion for a bill of

 particulars which the Court referred to the magistrate judge for a report and recommendation. On

 March 15, 2007, Magistrate Judge Thomas Anderson issued his report, recommending that the

 Defendant’s motion be denied. According to the Court’s docket, no objections to the magistrate

 judge’s report and recommendation have been filed pursuant to 28 U.S.C. § 636(b)(1)(C).

        The Court has reviewed the magistrate judge’s report and recommendation, and the entire

 record of the proceeding before the magistrate judge. No objections having been filed, the Court

 ADOPTS the magistrate judge’s report and recommendation.

        It is therefore ORDERED that the magistrate judge’s report and recommendation filed March

 15, 2007, be hereby ADOPTED. Therefore, the motion of the Defendant for a bill of particulars is

 DENIED.

        IT IS SO ORDERED this 25th day of March, 2007.

                                             s/ J. DANIEL BREEN
                                             UNITED STATES DISTRICT JUDGE
